Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 1 of 7 PageID 925
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 2 of 7 PageID 926
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 3 of 7 PageID 927
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 4 of 7 PageID 928
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 5 of 7 PageID 929
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 6 of 7 PageID 930
Case 8:06-cr-00314-JSM-J_S Document 239 Filed 11/07/07 Page 7 of 7 PageID 931
